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UNITED STATES DISTRICT COURT ELECTRONICALLY FILED

SOUTHERN DISTRICT OF NEW YORK DOCH,
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DONALD J. TRUMP,

 

Plaintiff,
19 Civ. 8694 (VM)
- against -
DECISION AND ORDER

 

CYRUS R. VANCE, JR., in his official
capacity as District Attorney of the
County of New York, and
MAZARS USA, LLP,
Defendants.
VICTOR MARRERO, United States District Judge.

Plaintiff Donald J, Trump (“Plaintiff”% or the
“President”}, filed this action seeking to enjoin enforcement
of a grand jury subpoena (the “Mazars Subpoena”) issued by
Cyrus R. Vance, Jr., in his official capacity as the District
Attorney of the County of New York (the “District Attorney”),
to the accounting firm Mazvars USA, LLP (“Mazars”). (See

“Complaint,” Dkt. No. 1; “Amended Complaint,” Dkt. No. 27.)+

 

1 The Court notes a measure of ambiguity regarding whether the President
purports to bring this suit in his official capacity as President. The
President never explicitly states that he does so, yet his arguments
depend on his status as the sitting President. Whether privately retained,
non-government attorneys accountable only to the President as an
individual are entitled to invoke an immunity allegedly derived from the
office of the Presidency, raises questions not addressed here. In any
event, the Court finds resolution of this ambiguity unnecessary to its
analysis.

 
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INTRODUCTION

The President asserts an extraordinary claim in the
dispute now before this Court. He contends that, in his view
of the President’s duties and functions and the allocation of
governmental powers between the executive and the judicial
branches under the United States Constitution, the person who
serves as President, while in office, enjoys absolute
immunity from criminal process of any kind. Consider the reach
of the President’s argument. As the Court reads it,
presidential immunity would stretch to cover every phase of
criminal proceedings, including investigations, grand jury
proceedings and subpoenas, indictment, prosecution, arrest,
trial, conviction, and incarceration. That constitutional
protection presumably would encompass any conduct, at any
time, in any forum, whether federal or state, and whether the
President acted alone or in concert with other individuals.

Hence, according to this categorical doctrine as
presented in this proceeding, the constitutional dimensions
of the presidential shield from judicial process are
virtually limitless: Until the President leaves office by
expiration of his term, resignation, or removal through
impeachment and conviction, his exemption from criminal
proceedings would extend not only to matters arising from

performance of the President’s duties and functions in his

 

 
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official capacity, but also to ones arising from his private
affairs, financial transactions, and all other conduct
undertaken by him as an ordinary citizen, both during and
before his tenure in office.

Moreover, on this theory, the President’s special
dispensation from the criminal law’s purview and judicial
inquiry would embrace not only the behavior and activities of
the President himself, but also extend derivatively so as to
potentially immunize the misconduct of any other person,
business affiliate, associate, or relative who may have
collaborated with the President in committing purportedly
unlawful acts and whose offenses ordinarily would warrant
criminal investigation and prosecution of all involved.

In practice, the implications and actual effects of the
President’s categorical rule could be far-reaching. In some
circumstances, by raising his protective shield, applicable
statutes of limitations could run, barring further
investigation and prosecution of serious criminal offenses,
thus potentially enabling both the President and any
accomplices to escape being brought to justice. Temporally,
such immunity would operate to frustrate the administration
of justice by insulating from criminal law scrutiny and
judicial review, whether by federal or state courts, not only

matters occurring during the President’s tenure in office,

 

 
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but potentially also records relating to transactions and
illegal actions the President and others may have committed
before he assumed the Presidency.

This Court cannet endorse such a categorical and
limitless assertion of presidential immunity from judicial
process as being countenanced by the nation’s constitutional
plan, especially in the light of the fundamental concerns
over excessive arrogation of power that animated the
Constitution’s delicate structure and its calibrated balance
of authority among the three branches of the national
government, as well as between the federai and state
authorities. Hence, the expansive notion of constitutional
immunity invoked here to shield the President from judicial
process would constitute an overreach of executive power.

The Court recognizes that subjecting the President to
some aspects of criminal proceedings could impermissibly
interfere with or even incapacitate the President’s ability
to discharge constitutional functions, Certainly lengthy
imprisonment upon conviction would produce that result. But,
as elaborated below, and contrary to the President’s immunity
claim as asserted here, that consequence would not
necessarily follow every stage of every criminal proceeding.
In particular that concern would not apply to the specific

set of facts presented here to which the Court’s holding is

 

 
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limited: the President’s compliance with a grand jury
subpoena issued in the course of a state prosecutor’s criminal
investigation of conduct and transactions relating to third
persons that occurred at least in part prior to the President
assuming office, that may or may not have involved the
President, but that at this phase of the proceedings demand
review of records the President possesses or controls.

Alternatives exist that would recognize such
distinctions and reconcile varying effects associated with a
claim of presidential immunity in different criminal
proceedings and at different stages of the process. The Court
rejects the President’s theory because, as articulated, such
sweeping doctrine finds no support in the Constitution’s text
or history, or in germane guidance charted by rulings of the
United States Supreme Court.

Questions and controversy over the scope of presidential
immunity from judicial process, and unqualified invocations
of such an exemption as advanced by some Presidents, are not
new in the nation’s constitutional experience. In fact,
disputes concerning the doctrine arose during the
Constitutional Convention in 1787 and the Framers’
deliberations gave it some consideration. The underlying
issues, however, were not explicitly articulated in the text

of the charter that emerged from the Convention and thus have

 
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remained largely unresolved. Consequently, the only thing
truly absolute about presidential immunity from criminal
process is the Constitution’s silence about the existence and
contours of such an exemption, a void the President seeks to
fill by the expansive theory he proffers.

Nonetheless, the Founders and courts and  Llegal
commentators have repeatedly expressed one overarching
concern about the breadth of the President’s immunity from
judicial process, a fear that served as a vital principle for
subsequent court and scholarly review of the question:
whether while in office the President stands above the law
and absolutely beyond the reach of judicial process in any
criminal proceeding. Shunning the concept of the
inviolability of the person of the King of England and the
bounds of the monarch’s protective screen covering the
Crown's actions from legal scrutiny, the Founders disclaimed
any notion that the Constitution generally conferred
similarly all-encompassing immunity upon the President. They
gave expression to that rejection by recognizing the duality
the President embodied as a unique figure, serving as head of
the nation’s government, but also existing as a private

citizen.? As detailed below, the wisdom of that view has been

 

2 See Memorandum from Robert G. Dixon, Jr., Assistant Attorney General,
Office of Legal Counsel, Re: Amenability of the President, Vice President
and Other Civil Officers to Federal Criminal Prosecution While in Office

 

 

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tested before the courts on various occasions and has been
roundly and consistently reaffirmed by the Supreme Court and
lower courts.

In numerous rulings, the courts have circumscribed
claims of presidential immunity in multiple ways.
Specifically, they have held that such protection from
judicial process does not extend to civil suits regarding
private conduct that occurred before the President assumed
office, to responding to subpoenas regarding the conduct of
third-persons, and to providing testimony in court
proceedings relating to private disputes involving third
persons.

The notion of federal supremacy and presidential
immunity from judicial process that the President here
invokes, unqualified and boundless in its reach as described
above, cuts across the grain of these constitutional
precedents. It also ignores the analytic framework that the
Supreme Court has counseled should guide review of
presidential claims of immunity from judicial process. Of

equal fundamental concern, the President’s claim would tread

 

at 20 n.14 (Sept. 24, 1973) (“The Framers of the Constitutions made it
abundantly clear that the President was intended to be a Chief Executive,
responsible, subject to the law, and lacking the prerogatives and
privileges of the King of England . . . and that the President would not
be above the law, nor have a single privilege annexed to his character.”)}
{citing sources).

 
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upon principles of federalism and comity that form essential
components of our constitutional structure and the
federal/state balance of governmental powers and functions.
Bared to its core, the proposition the President advances
reduces to the very notion that the Founders rejected at the
inception of the Republic, and that the Supreme Court has
since unequivocally repudiated: that a constitutional domain
exists in this country in which not only the President, but,
derivatively, relatives and persons and business entities
associated with him in potentially unlawful private
activities, are in fact above the law.

Because this Court finds aspects of such a doctrine
repugnant to the nation’s governmental structure and
constitutional values, and for the reasons further stated
below, it ABSTAINS from adjudicating this dispute and
DISMISSES the President’s suit. In the alternative, in the
event on appeal abstention were found unwarranted under the
circumstances presented here, the Court DENIES the
President's motion for injunctive relief.

I. BACKGROUND

The Court begins by briefly recounting some facts that
appear to be uncontested. The District Attorney is
investigating conduct that occurred in New York State. As

part of that investigation, the District Attorney served a

 
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grand jury subpoena on the Trump Organization, LLC (the “Trump
Organization”) on August 1, 2019. That subpoena seeks various
documents and records of the Trump Organization covering the
period from June 2015 through September 2018. The Trump
Organization proceeded to respond, at least in part, to that
subpoena without court involvement. On August 29, 2019, the
District Attorney served the Mazars Subpoena on Mazars., The
Mazars Subpoena seeks various documents and = records,
including tax returns of the President and possibly third
persons, covering the period from January 2011 through the
present. In mid-September, counsel for the President informed
the District Attorney that the President would seek to prevent
enforcement of and compliance with the Mazars Subpoena as it
related to the production of tax records. The President has
now done so through this action.

On September 19, 2019, the President filed the Complaint
in this action. On the same day, the President filed an
emergency motion for a temporary restraining order and a
preliminary injunction. (See “Pl.’s Motion,” Dkt. No. 6;

“Pl.’s Mem.,”% Dkt. No, 10-13; “Consovoy Decl.,”% Dkt. No. 6-

2.) Upon receipt of the President’s motion and supporting

 

3 Citations to the memorandum of law in support of the President’s motion
for injunctive relief herein shall be citations to Dkt. No. 10-1. The
Court notes, however, that the memorandum of law at that docket entry is
an amended version of the memorandum of law originally filed with the
Court at Dkt. No. 6-3. (See Dkt. No. 10.)

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documents, the Court directed the parties to confer on a
briefing schedule and hearing date. Consistent with the
Court’s request, the parties submitted a joint letter with a
proposed briefing schedule and hearing date, which the Court
endorsed. (See Dkt. No. 4.) At the same time, the District
Attorney agreed to stay enforcement of and compliance with
the Mazars Subpoena until Wednesday, September 25, 2019 at
1:00 p.m. (See id.)

On September 23, 2019, the District Attorney filed a
memorandum of law in opposition to the President’s motion for
injunctive relief and in favor of the District Attorney’s
motion to dismiss the Complaint. (See “September 23 Letter,”
Dkt. No. 15; “Def.'s Mem.,” Dkt. No. 16; “Shinerock Decl.,”
Dkt. No. i7.)

On September 24, 2019, the President filed an opposition
to the District Attorney’s motion to dismiss and a reply in
further support of the President’s motion for injunctive
relief. (See “Pl.’s Reply,” Dkt. No. 22.)

On the same day, the United States filed a statement in
support of the entry of a temporary restraining order. (See
Dkt. No. 24.) Specifically, the United States supported the
granting of a temporary restraining order in order to afford
the United States additional time to consider whether to

participate in this action. (See id.)

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Also on the same day, the Court received a letter from
Mazars, which indicated that Mazars “takes no position on the
legal issues raised by Plaintiff.” (See Dkt. No. 26.)

The Court heard oral arguments from the President and
the District Attorney on September 25, 2019. (See Dkt. Minute
Entry dated 9/25/2019; Transcript (“Tr.”%).) At the conclusion
of oral argument, the Court extended the stay of enforcement
of and compliance with the Mazars Subpoena to September 26,
2019 at 5:00 p.m.; ordered the parties to meet and confer
regarding their concerns, and to inform the Court by September
26, 2019 at 4:00 p.m. whether they had agreed upon a process
for proceeding; and granted the request of the United States
for additional time to consider whether to participate in the
action. (See Dkt. No. 25.)

By letter dated September 26, 2019, the District
Attorney informed the Court that the parties had agreed that
the District Attorney would forbear from enforcement of the
Mazars Subpoena until 1:00 p.m. two business days after the
Court’s ruling (or until 1:00 p.m. on Monday, October 7, 2019,
whichever is sooner) and Mazars would gather and prepare
responsive documents in the interim. (See Dkt. No. 28.)

By letter dated September 30, 2019, the United States
indicated its intent to file a submission. (See Dkt. No. 30.)

On October 2, 2019, the United States filed a Statement of

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Interest, urging the Court not to abstain, but to exercise
jurisdiction over this dispute and, following additional
briefing, to reach the merits of the President’s claimed
immunity. (See “Statement of Interest,” Dkt. No. 32.) By
letter dated October 3, 2019, the District Attorney responded
to the Statement of Interest. (See “Def.’s Response,” Dkt.
No. 33.)
II, DISCUSSION

A. ANTI-INJUNCTION ACT

 

The Court begins its analysis by considering the
District Attorney’s argument that the Anti-Injunction Act, 28
U.S.C. Section 2283 (the “AIA”), forecloses the injunctive
relief the President seeks. (See Def.’s Mem. 5-6, 8-9.) Dating
to the 18th century and designed “to forestall the inevitable
friction between the state and federal courts that ensues
from the injunction of state judicial proceedings by a federal

court,” Vendo Co. v. Lektro-Vend Corp., 433 U.S. 623, 630

 

(1977), the AIA provides that a “court of the United States
may not grant an injunction to stay proceedings in a State
court except as expressly authorized by Act of Congress, or
where necessary in aid of its jurisdiction, or to protect or
effectuate its judgments.” 28 U.S.C. § 2283. The President
has amended his complaint to clarify that he brings suit under

42 U.S.C. Section 1983 (“Section 1983”) (see Amended

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Complaint 7 8), meaning this case fits squarely into the first

of the AIA’s three exceptions.’ See Mitchum v. Foster, 407

 

U.S. 225, 243 (1972) (“[Section] 1983 is an Act of Congress
that falls within the ‘expressly authorized’ exception of
[the AIA].”%). Because Mitchum allows the Court to conclude
that the AIA is no bar to injunctive relief here, the Court
finds it unnecessary to reach the President’s alternative
arguments for the inapplicability of the AIA.
B. ABSTENTION

The District Attorney also submits that, under the

abstention doctrine set forth in Younger v. Harris, 401 U.S.

 

37 (1971), the Court must decline to exercise jurisdiction
over the President’s suit. (See Def.’s Mem. at 5-9.) Younger
abstention is grounded in

the notion of “comity,” that is, a proper respect for
state functions, a recognition of the fact that the
entire country is made up of a Union of separate state
governments, and a continuance of the belief that the
National Government will fare best if the States and
their institutions are left free to perform their

separate functions in their separate ways. This... is
referred to by many as “Our Federalism” .. . . What the
concept . . . represent{s] is a system in which there is

sensitivity to the legitimate interests of both State

 

4 The District Attorney argues that the President’s claimed immunity is

 

“too vague and amorphous” to be cognizable under Section 1983. (Def.‘s
Response at 2 (quoting Golden State Transit Corp. v. City of Los Angeles,
493 U.S. 103, 106 (1989)}.)} The Court shares the District Attorney's

doubts on this score. However, because the Court declines to exercise
jurisdiction on other grounds, it will assume without deciding that the
claim is properly brought under Section 1983. See Spargo v. New York State
Coma’n on Judicial Conduct, 351 F.3d 65, 74 (2d Cir. 2003) {noting that
federal courts may “choose among threshold grounds for disposing of a
case without reaching the merits” (internal quotation marks omitted)).

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and National Governments, and in which the National
Government, anxious though it may be to vindicate and
protect federal rights and federal interests, always
endeavors to do so in ways that will not unduly interfere
with the legitimate activities of the States.

401 U.S. at 44. Hence notwithstanding federal courts’
“virtually unflagging obligation . . . to exercise the

jurisdiction given them,” Colorado River Water Conserv. Dist.

 

v. United States, 424 U.S. 800, 817 (1976), Younger requires
federal courts to decline jurisdiction when a plaintiff seeks
to enjoin one of the following three kinds of state
proceedings: {1) “ongoing state criminal prosecutions,” (2)
“certain civil enforcement proceedings,” and (3) “civil
proceedings involving certain orders . . . uniquely in
furtherance of the state courts’ ability to perform their

judicial functions.” Sprint Comme’ns, Inc. v. Jacobs, 571

 

U.S. 69, 78 (2013) (quoting New Orleans Pub. Serv., Inc. v.

 

Council of City of New Orleans, 491 U.S. 350, 368 (1989)

 

(internal guotation marks omitted)).

If the federal plaintiff seeks to enjoin one of these
three types of proceedings, a federal court may consider three
additional conditions that further counsel in favor of

Younger abstention, first laid out in Middlesex County Ethics

 

Commission v. Garden State Bar Association. See 457 U.S. 423,

 

432 (1982). The “Middlesex conditions” are “(1) [whether]

there is a pending state proceeding, (2) that implicates an

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important state interest, and (3) the state proceeding
affords the federal plaintiff an adequate opportunity for
judicial review of his or her federal constitutional claims.”

Falco v. Justices of the Matrimonial Parts of Supreme Ct. of

 

Suffolk Cty., 805 F.3d 425, 427 (2d Cir. 2015).° Moreover,
Younger also provides for an exception, pursuant to which a
federal court may entertain a suit from which it must
otherwise abstain, upon a showing of “bad faith, harassment,
er any other unusual circumstance that would call for
equitable relief” in federal court. 401 U.S. at 54.

For the reasons set forth below, the Court concludes
that it must abstain under Younger.

1. Ongoing State Criminal Prosecution

 

Although the District Attorney views the Mazars Subpoena
as part of an ongoing state criminal prosecution (see Def.’s
Mem. at 6-7), the President disputes that contention. (See
Pl.’s Reply at 10-11.) Hence the President denies the
existence of either an “ongoing state criminal prosecution”
under Sprint or a “pending state proceeding” per the first
Middlesex condition. No party argues that there is a

distinction between an “ongoing” proceeding and a “pending”

 

5 Federal courts previously treated the Middlesex conditions as
dispositive of the abstention inquiry, but it is unclear how mach weight
they should be given after the Sprint Court’s clarification that they are
merely “additional factors” appropriately considered in an abstention
inquiry. See Falco, 805 F.3d at 427.

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one, and the Court finds no such distinction in the law. The
Court consequently considers these two terms identical for
the purpose of its abstention analysis and concludes that the
Mazars Subpoena does qualify as part of an ongoing state
criminal prosecution for Younger purposes -- though not
necessarily a prosecution of the President himself.

In the spirit of comity, the Court begins its analysis
by observing that New York law considers the issuance of a
grand jury subpoena to be a criminal proceeding. C.P.L.
Section 1.20(18) defines a “[c]riminal proceeding” to cover
“any proceeding which . . . occurs in a criminal court and is
related to a prospective, pending or completed criminal
action, . . . or involves a criminal investigation.” C.P.I.
Section 10.10(1) explains that the “‘criminal courts’ of [New
York] state are comprised of the superior courts and the local
eriminal courts.” Finally, C.P.L. Section 190.05 defines a
grand jury as “a body .. . impaneled by a superior court and
constituting a part of such court.” Because the Mazars
Subpoena relates to a criminal investigation and was issued
by the grand jury, which constitutes a part of a criminal
court, the Court finds as a matter of New York law that the
Mazars Subpoena constitutes a criminal proceeding.

State law aside, the President correctly notes that the

United States Courts of Appeals are divided on whether the

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issuance of a grand jury or investigative subpoena
constitutes a pending state proceeding for Younger purposes,

Compare Monaghan v. Deakins, 798 F.2d 632, 637 (3d Cir.

 

1986) {holding that grand jury subpoenas do not constitute a
pending state proceeding), vacated in part, 484 U.S. 193

(1988), with Craig v. Barney, 678 F.2d 1200, 1202 (4th Cir.

 

1982) (abstaining because of “Virginia’s interest in the
unfettered operation of its grand jury system”), Kaylor v.
Fields, 661 F.2d 1177, 1182 (8th Cir. 1981), and Kingston v.
Utah County, 161 F.3d 17, *4 (10th Cir. 1998) (Table). The
United States Court of Appeals for the Second Circuit appears
not to have yet ruled on the question.

The President asks the Court to agree with the Monaghan
Court and hold that no ongoing criminal prosecution exists
here because a state grand jury does not “adjudicate anything”
and “exists only to charge that the defendant has violated
the criminal law.” (Pl.’s Reply at 11 (internal quotation

marks omitted).) He also cites Google, Inc. v. Hood for the

 

proposition that “Sprint undermined prior cases applying
Younger abstention to grand-jury subpoenas.” (Id. (citing 822
F.3d 212, 224 & n.7 (5th Cir. 2016)).)

However, the Sprint Court did not address what makes a
criminal proceeding an ongoing prosecution. Instead, it

reaffirmed that Younger applies only to criminal prosecutions

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and state civil proceedings that are “akin to a criminal
prosecution,” and not to other civil proceedings. Sprint, 571
U.S. at 80. Here, there is no doubt that grand jury
proceedings are criminal in nature. Moreover, the Hood Court
explicitly observed that abstention was merited where Texas
law reflected that a grand jury was “an arm of the court by
which it is appointed.” 822 F.3d at 223. As noted above, New
York law similarly considers grand juries a part of the

criminal court that impanels them. See also People v.

 

Thompson, 8 N.E.3d 803, 810 (N.Y. 2014) (“[G]rand jurors are
empowered to carry out numerous vital functions independently
of the prosecutor, for they ‘ha[ve] long been heralded as the
shield of innocence . . . and as the guard of the liberties
of the people against the encroachments of unfounded

accusations from any source.’”) (quoting People v. Sayavong,

 

635 N.E.2d 1213, 1215 (N.Y. 1994) (internal quotation marks
omitted)). The Second Circuit has further confirmed that
“Grand Juries exist by virtue of the New York State
Constitution and the Superior Court that impanels them; they
are not arms or instruments of the District Attorney.” United
States v. Reed, 756 F.3d 184, 188 (2d Cir. 2014).

Although the Second Circuit has not explicitly addressed
whether grand jury proceedings constitute an ongoing state

prosecution under Younger, judges of this district have

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“routinely applied Younger where investigatory subpoenas have
been issued,” even prior to a ‘full-fledged state
prosecution” and outside of the criminal context. Mir v. Shah,
No. 21 Civ. 5211, 2012 WL 6097770, at *3 (S.D.N.Y. Dec. 4,
2012); aff'd, 569 F. App’x 48, 50-51 (2d Cir. 2014) (affirming
on basis that “abstention is still appropriate here under the

Sprint framework”); see also Mirka United, Inc. v. Cuomo, No.

 

06 Civ. 14292, 2007 WL 4225487, at *4 (S.D.N.Y¥. Nov. 27, 2007}
(“Numerous courts have held that investigatory proceedings
that occur pre-indictment and that are an integral part of a
state criminal prosecution may constitute ‘ongoing state

proceedings’ for Younger purposes.”); J. & W. Seligman & Co.

 

Inc, v. Spitzer, No. 05 Civ. 7781, 2007 WL 2822208, at *5
(S.D.N.Y¥. Sept. 27, 2007} (“[T]he issuance of compulsory
process, including subpoenas, in criminal cases, initiates an
‘ongoing’ proceeding for the purposes
of Younger abstention.”); Nick v. Abrams, 717 F. Supp. 1053,
1056 (S.D.N.Y. 1989) (“[C]lommon sense dictates that a
criminal investigation is an integral part of a criminal
proceeding. . . . Permitting the targets of state criminal
investigations to challenge subpoenas . . . in federal court
prior to their indictment or arrest, therefore, would do

. much damage to principles of equity, comity, and federalism

.“). The Court declines to contradict over thirty years’

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worth of settled and well-reasoned precedent of courts in
this district and instead concludes that this case involves
an ongoing state criminal prosecution.

2, The Second Middlesex Condition

 

The second Middlesex condition favors abstention if the
pending state proceeding implicates an important state
interest. See Falco, 805 F.3d at 427. The Court finds this
condition satisfied. A state’s interest in enforcement of its
criminal laws undoubtedly qualifies as an important state
interest, particularly considering that Younger itself
concerned a challenge to state criminal proceedings. See

Arizona v. Manypenny, 451 U.S. 232, 243 (1981); see generally

 

Younger, 401 U.S. 37.

3. The Third Middlesex Condition

 

The third Middlesex condition favors abstention if “the
state proceeding affords the federal plaintiff an adequate
opportunity for judicial review of his or her federal
constitutional claims.” Falco, 805 F.3d at 427 (internal
quotation marks omitted). “[A]ny uncertainties as to the
scope of state proceedings or the availability of state
remedies are generally resolved in favor of abstention.

[I]t is the plaintiff’s burden to demonstrate that state

remedies are inadequate.” Spargo, 351 F.3d at 78. In this

respect, federal courts may not “assume that state judges

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will interpret ambiguities in state procedural law to bar

presentation of federal claims.” Pennzoil Co. v. Texaco,

 

Inc., 481 U.S. 1, 15 (1987).

The President argues that state proceedings are
inadequate because “under current New York law, it does not
appear that the President could move to quash a subpoena he
did not receive.” (Pl.’s Reply at 9.) However, the Court’s
review of New York law suggests otherwise. A non-recipient
can challenge a subpoena under certain circumstances. See

Beach v. Oil Transfer Corp., 199 N.Y¥.S.2d 74, 76 (Sup. Ct.

 

Kings Cty. 1960) (“In situations where witnesses served with
subpoenas are not parties, nevertheless, upon a claim of
privilege, the defendant being the party principally
concerned by the adverse effect of the subpoenas served upon
the witnesses and being the party whose rights are invaded by
such process may apply to the court whose duty it is to
enforce it, to set aside such process if it is invalid.”

(internal quotation marks omitted)); see also In re Roden,

 

106 N.Y¥.S.2d 345, 347-48 (Sup. Ct. N.Y. Cty. 1951) (“Any party
affected by the process of the court or its mandate may apply
to the court for its modification, vacatur, quashal or other
relief he feels he is entitled to receive.”); accord Colfin

Bulls Funding B, LLC v. Ampton Invs., Inc., No. 151885/2015,

 

2018 WL 7051063, at *8 (Sup. Ct. N.Y. Cty. Nov. 26, 2018)

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(quoting In re Roden for same proposition); People v.
Grosunor, 439 N.Y.S.2d 243, 246 (Crim. Ct. Bronx Cty. 1981)
(same).

The preceding decisions indicate that the President can
challenge the Mazars Subpoena in a state forum on the basis
of his asserted immunity. At the very least, they reflect an
ambiguity in state law that the Court must resolve in favor
of abstention.

The President raises a closer question by arguing that,
even if available, a state forum would “not be truly adequate”
given that the federal and state governments are already in
conflict. (Pl.’s Reply at 9.) As the President notes, some
sources suggest that Younger is inapplicable to suits the
federal government chooses to bring against state governments
in federal court, on the theory that in those situations the
federal-state conflict Younger seeks to preempt will occur

even if the federal court abstains. See United States v.

 

Morros, 268 F.3d 695, 707 (9th Cir. 2001); United States v.

 

@ Even if the President could not challenge the Mazars Subpoena in state
proceedings, it is unclear why he couid not raise his constitutional
arguments in a challenge to the subpoena served upon the Trump
Organization {the “Trump Organization Subpoena”). As the President’s
counsel noted at oral argument, “there’s not a document Mazars has that
[che Trump Organization dees not] have in [its] possession,” Tr. 47:22-
23. Counsel further stated that the Mazars Subpoena was prompted by the
Trump Organization's refusal to comply with the Trump Organization
Subpoena. Tr. 47:24-48:3. If the President views both subpoenas as
attempts to criminally prosecute him, he could litigate his claimed
immunity in a challenge to the Trump Organization Subpoena = and
incidentally render compliance with the Mazars Subpoena a moot point.

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Composite State Bd. of Med. Examiners, 656 F.2d 131, 135-36

 

(Sth Cir. 1981). The United States echoes these arguments,
contending that the “principles of comity and federalism

lose their force when the federal government’s own Chief
Executive invokes federal constitutional law to chalienge a
state grand jury subpoena demanding his records.” (Statement
of Interest at 4.)

As an initial note, as pointed out above, the Court is
not certain that attorneys privately retained by the person
who is President can bring suit on behalf of the United
States. Indeed, the Justice Department has filed a Statement
of Interest on behalf of the United States pursuant to 28
U.S.C. Section 517, rather than formally intervening as a
party, or explicitly stating that it is appearing on behalf
of the President in connection with official presidential
business implicating United States interests.

Even assuming that this action is brought by the federal
government, however, the Supreme Court appears not to have
addressed the impact of this consideration on Younger
analysis, and there is precedent to the contrary. See Colorado
River, 424 U.S. at 816 n.23 (declining to consider “when, if
at all, abstention would be appropriate where the Federal
Government seeks to invoke federal jurisdiction”); United

States v. Ohio, 614 F.2d 101, 104 {6th Cir. 1979} (“Abstention

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from exercise of federal jurisdiction is not improper simply
because the United States is the party seeking a federal

forum.”); United States v. Oregon, No. 10 Civ. 528, 2011 WL

 

11426, at *5 (PD. Or. Jan. 4, 2011) (“[T]he United States’
role as plaintiff is not dispositive to this question. Comity
principles can justify abstention even when the United States
is the plaintiff.”}, aff'd, 503 F. App’x 525, 527 (9th Cir.
2013) (affirming abstention on basis that the distinction
between the federal government and a private citizen “is not
material given the {Supreme Court’s] comity rationale” in

Levin v. Commerce Energy, Inc., 560 U.S. 413 (2010)).

 

The Court cannot agree that the President’s filing of
this action renders the principles of comity and federalism
a nullity. While the Second Circuit does not appear to have
directly addressed this “difficult question with regard to
federal-state relations” in the Younger context, it has
denied “that a stay [should be] automatically granted simply
on the application of the United States.” United States v.

Certified Indus., Inc., 361 F.2d 857, 859 {2d Cir. 1966); see

 

also United States v. Augspurger, 452 F. Supp. 659, 668

 

(W.D.N.¥. 1978) (“{T]he general rules of comity do apply even
when the United States is the plaintiff.”).
Instead, it is “necessary to inquire ‘whether the

granting of an injunction [is] proper in the circumstances of

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this case.’” Certified Indus., 361 F.2d at 859 (quoting Leiter

Minerals, Inc. v. United States, 352 U.S. 220, 226 (1957)).

 

This circumstantial test better accords with the vision of a
federal court system “in which there is sensitivity to the
legitimate interests of both State and National Governments
anxious though [the Court] may be to vindicate and
protect federal rights and federal interests.” Younger, 401
U.S. at 44. Automatically deferring to federal interests in
suits brought by the federal government is as incompatible
with our federalism as unthinkingly deferring to states’
interests in state proceedings.’
Further, the President provides no compelling proof that
New York courts would fail to adequately adjudicate his
immunity claim, relying instead on the unsubstantiated
allegation that he would risk “local prejudice.” (P1l.’s Reply
at 9 (quoting Clinton v. Jones, 520 U.S. 681, 691 (1997)).)
Absent a much more compelling showing, the Court declines to

conclude that New York courts will treat the President with

 

7 The Court does not believe that the cases cited by the President compel
a contrary conclusion. The Composite State Court specifically
distinguished its set of facts from a case where, as here, “the state and
federal governments are not in direct conflict” even though the federal
gevernment might have “an interest in the outcome of the action to the
extent that a federal right is implicated.” 656 F.2d at 136. And the
Morros Court found that the federal-state conflict inhered where the two
governments were locked in a contentious dispute spanning over ten years.
See 268 F.3d at 708. By contrast, a direct or inherent conflict is not
inevitable in this case, where the state grand jury has merely requested
records pertaining to a broad set of facts and actors and may not
ultimately target the President.

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prejudice. Similarly, the United States misses the mark when
it argues that “the state’s interest in litigating such an
unusual dispute in a state forum is minimal.” (Statement of
Interest at 98.) To the contrary, “[u]nder our federal system,
it goes without saying that preventing and dealing with crime
is much more the business of the States than it is of the
Federal Government. Because the regulation of crime is pre-
eminently a matter for the States, we have identified a strong
judicial policy against federal interference with state

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criminal proceedings.” Manypenny, 451 U.S. at 243 (internal
alterations, citations, and quotations omitted). The
President's interest in adjudicating an alleged immunity from
state criminal process in federal court, with respect to a
state investigation that may or may not ultimately target the

President, cannot outweigh the State interest without much

stronger proof of State judicial inadequacy.§

 

® The United States also argues against abstention by analogizing to 28
U.S.C. Section 1442, which authorizes a federal officer to remove a state
court action to federal court if she is directly sued “for or relating
to any act under color of” her office. (Statement of Interest at 9.} But
Mazars's duties and services with respect to the President’s personal
financial records do not appear to relate to any act taken under the
color of the President’s office, and no party argues otherwise. Nor has
any party pointed to a federal defense that Mazars could bring, as might
otherwise justify removal under the statute. See Watson _v. Philip Morris
Cos., 551 U.S. 142, 151 (2007); Isaacson v. Dow Chem. Co., 517 F.3d 129,
139 (2d Cir. 2008). Far from being directed to a federal officer for her
federal acts, the Mazars Subpoena requests private records from a private
third party. The Court declines to upend its broader Younger analysis on
the basis of an inapposite hypothetical.

 

 

 

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Even if the law regarding suits brought by the federal
government is ultimately unclear, the Court cannot disregard
the principles underlying Younger on this basis alone. And in
any event, “it remains unclear how much weight [the Court]
should afford [the Middlesex conditions] after Sprint.”
Falco, 805 F.3d at 427. Because the Court finds that there is
an ongoing state criminal prosecution, an important state
interest is implicated, and the state proceeding would afford
the President at least a procedurally adequate opportunity
for judicial review of his federal claims, the weight of the
Court's analysis under Sprint and the Middlesex conditions
requires abstention.?

4. The Bad Faith or Harassment Exception

 

Although the Court finds that a state criminal
prosecution is ongoing and the Middlesex conditions further
discourage the Court’s exercise of jurisdiction, abstention
may still be inappropriate if the President can demonstrate

“bad faith, harassment, or any other unusual circumstance

 

2 The Court is sensitive to the President's argument that abstention under
these circumstances might embolden state-level investigation of future
Presidents, especialiy by elected prosecutors in jurisdictions strongly
opposed to a given incumbent. However, the Court cannot conclude that
this argument merits the exercise of jurisdiction here, where the District
Attorney has subpoenaed a third party in a broad investigation that may
not ultimately target the President. If future criminal investigations by
state prosecutors more clearly target a President on politicized grounds
or invade on the prerogatives of the Presidency, then either such
exceptional circumstances or evidence that the investigations lacked a
good-faith basis could potentially warrant the exercise of federal court
jurisdiction to consider such a challenge.

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that would call for equitable relief.” Younger, 401 U.S, at
54. “However, a plaintiff who seeks to head off Younger
abstention bears the burden of establishing that one of the

exceptions applies.” Diamond “D” Constr. Corp. v. McGowan,

 

982 F.3d 191, 198 (2d Cir. 2002). To invoke the bad faith
exception, “the party bringing the state action must have no
reasonable expectation of obtaining a favorable outcome.” Id.
at 199 (internal quotation marks omitted). “[R]ecent cases
concerning the bad faith exception have further emphasized
that the subjective motivation of the state authority in
bringing the proceeding is critical to, if not determinative
of, this inquiry.” Id.

The President argues that the Mazars Subpoena was issued
in bad faith because it essentially copies two congressional
subpoenas which cover subject matter allegedly exceeding the
District Attorney’s jurisdiction. The President also cites
numerous statements by federal and state officials indicating
their intent to investigate the President’s finances and
remove him from office. (See Amended Complaint V7 25-41.) The

President further relies on Black Jack Distributors, Inc. Vv.

 

Beame to claim that this evidence raises an inference that
the District Attorney’s “activities have a secondary motive”

and are “going beyond good faith enforcement of the [criminal]

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laws.” (Pl.’s Reply at 10 (quoting 433 F. Supp. 1297, 1304-
O7 (S.D.N.Y¥. 1977)).)

The District Attorney acknowledges that the Mazars
Subpoena is substantially identical to the congressional
subpoenas, but he argues that the Mazars Subpoena remains
appropriate because it would encompass documents relevant to
the state’s investigation and enable Mazars to produce those
documents promptly, as Mazars had already begun collecting
the same documents in order to respond to the congressional
subpoenas. (Tr. 30:16-25.) The District Attorney adds that
although the documents covered by the subpoenas may relate to
matters of federal law, they nevertheless “certainly pertain
to potential issues under state law,” which would be the
“exclusive focus” of his investigation. (Tr. 30:1-5.)

And although the statements cited in the President’s
complaint certainly reflect that a number of New York State
elected officials may wish the President’s tenure in office
to end, those statements do not reveal the “subjective motive”
of the District Attorney in initiating these particular
proceedings -- particularly when the District Attorney made
none of these statements himself, and they cannot otherwise
be attributed to him. To hold otherwise and impute bad faith
to the District Attorney on the basis of statements made by

various legislators and the New York Attorney General would

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be “incompatible with federal expression of ‘a decent
respect’ for” the state authority’s functions. Glatzer v.
Barone, 614 F. Supp. 2d 450, 460 (S.D.N.Y¥. 2009).

This case is thus distinguishable from Black Jack
Distributors, where the court’s finding of bad faith relied
on a police department’s consistent and repeated use of arrest
procedures that had been “long ago heid invalid under New
York law,” pursuant to the head of the enforcement project’s
declaration that the department would “undertake activities
knowing that they are illegal” and “despite = all
constitutional limitations . . . stop at nothing” to put the
plaintiff out of business. 433 F. Supp. at 1306. The President
has not shown that the District Attorney is acting with
anywhere near the same level of disregard for the law at this
point in the investigation.

Moreover, the President has not alleged that the
District Attorney lacks any “reasonable expectation of

obtaining a favorable outcome,” Diamond “D” Constr. Corp.,

 

282 F.3d at 199, in the criminal prosecution of which the
Mazars Subpoena is part -- a proceeding which, after all,
need not necessarily lead to an indictment of the President
himself. Indeed, the Declaration of Solomon Shinerock
reflects that the District Attorney’s investigation relates

at least in part to “‘hush money’ payments to Stephanie

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Clifford and Karen McDougal, how those paymentS were
reflected in the Trump Organization’s books and records, and
who was involved in determining how those payments would be
reflected in the Trump Organization’s books and records.”
(See Shinerock Decl. @7 9.)

The Declaration also reflects that a variety of
investigations related to similar conduct are either ongoing
or resolved, including a non-prosecution agreement between
federal prosecutors and American Media, Inc. related to an
investigation of the lawfulness of the “hush money” payments;
the conviction of Michael DBD. Cohen for tax fraud, false
statements, and campaign finance violations during the period
he was counsel to the President; and investigations by
multiple other New York regulatory authorities concerning
alleged insurance and bank fraud by the Trump Organization
and its officers. (See id. € 17.) None of these investigations
necessarily involve the President himself, and the President
fails to show that the District Attorney could not reasonably
expect to obtain a favorable outcome in a criminal
investigation that is substantially related to the topics and
targets listed above. Barring a stronger showing from the
President, the Court declines to impute bad faith to the

District Attorney in relation to these proceedings.

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5. The Extraordinary Circumstances Exception

 

Even if bad faith and harassment do not apply, a district
court that would otherwise abstain under Younger may hear the
federal plaintiff’s claims if the claimant can prove that
extraordinary or unusual circumstances justify enjoining the
state court proceeding. See Younger, 401 U.S. at 54. “{Sjuch
circumstances must be ‘extraordinary’ in the sense of
creating an extraordinarily pressing need for immediate
federal equitable relief, not merely in the sense of
presenting a highly unusual factual situation.” Kugler v.
Helfant, 421 U.S. 117, 124-25 (1975). The Second Circuit has
construed Kugler and related Supreme Court precedent to
require “(1) that there be no state remedy available to
meaningfully, timely, and adequately remedy the alleged
constitutional violation; and (2) that a finding be made that
the litigant will suffer ‘great and immediate’ harm if the
federal court does not intervene” for the exception to apply.

Diamond “D” Const. Corp., 282 F.3d at 201.

 

As noted in Section II.B.3 supra, New York state courts
appear to provide an at least proceduraliy adequate avenue
for remedying the alleged constitutional violation at issue.
While the Court is mindful of “the special soiicitude due to
claims alleging a threatened breach of essential Presidential

prerogatives,” Nixon v. Fitzgerald, 457 U.S. 731, 743 (1982),

 

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the President’s claims nevertheless fail to demonstrate an
“axtraordinarily pressing need for immediate federal
equitable relief.” Kugler, 421 U.S. at 125. As described
further in Section II.C.3.i infra, the President faiis to
show irreparable harm. The double jeopardy cases that the
President cites are likewise inapposite to support his
proposition that a claim of Presidential immunity would be
“irreparably lost if . . . not vindicated immediately.” (P1l.’s
Reply at 8.) The President has not been the subject of any of
the criminal proceedings he lists as grounds’ showing
irreparable harm; he has not been indicted, arrested, or
imprisoned, or even been identified as a target of the
District Attorney’s investigation -- let alone been tried
once before, as required in the double jeopardy context.
Though the President and the United States devote
significant attention to the President's unique
constitutional position, these arguments reflect the highly
unusual factual underpinning of this case rather than the
“extraordinarily pressing need for immediate federal
equitable relief” demanded by Kugler. Far from requesting
immediate relief, the United States asks that this Court

schedule additional briefing on the merits of the President’s

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claims.1° (See Statement of Interest at 10.) The President’s
claim that his absolute immunity defense must be “vindicated
immediately” also runs counter to his counsel’s
representations at oral argument that the President is not
currently “seeking a permanent resolution of this dispute”
but is instead merely asking for “an orderly process that
allows the serious constitutional questions to be adjudicated
carefully and thoughtfully[, ] that preserves the
{P]resident’s right to be heard and allows him a reasonable
chance to appeal any adverse decision that might alter the
status quo.” (Tr. 11:4, 10-14.)

The President fails to show that New York courts would
not afford him such an orderly process, and his claim to
absolute immunity simply does not demonstrate “an
extraordinarily pressing need for immediate federal equitable
relief” where the District Attorney has not identified the
President as a target of the state investigation, let alone
actuaily indicted him. On the contrary, the President’s
prophecies that he will be indicted and denied due process in
state proceedings are, at best, speculative and unripe. The

Second Circuit has previously heid that “[t]he exceptional

 

12 The Court denies this request, as the Court fails to see how further
briefing on the merits of the President's immunity arguments would add to
the parties’ already extensive treatment of the subject, including a
lengthy oral argument.

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circumstances exception does not apply [where] the likelihood

of immediate harm is speculative.” See Miller v. Sutton, 697

 

F. App’x 27, 28 (2d Cir. 2017). This Court now so holds.
For these reasons, the Court abstains from exercising
jurisdiction over the President’s suit.

Cc. PRESIDENTIAL IMMUNITY

 

Notwithstanding the Court’s decision to abstain, and
mindful of the complexities and uncharted ground that the
Younger doctrine presents, the Court will proceed to examine
the merits of the President’s claimed immunity and articulate
an alternative holding, so as to obviate a remand in the event
on appeal the Second Circuit disagrees with the Court’s
abstention holding. For the reasons stated below, the Court
would deny the motion of the President for a temporary
restraining order and a preliminary injunction (collectively,
“injunctive relief”).

At the outset, the Court notes that the question it
addresses in this Order is narrower than the one upon which
the President urges the Court to focus. Based on the record
before it, and as noted in the preceding section of the
Court’s decision, the Court finds no clear and convincing
evidence that the President himself is the target ~~ or, at
minimum, the sole target -- of the investigation by the

District Attorney. Rather, the record before the Court

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indicates that the District Attorney is investigating a set
of facts, and a number of individuals and business entities,
in relation to which conduct by the President, lawful or
unlawful, may or may not be a part. Accordingly, the question
before the Court narrows to whether the District Attorney may
issue a grand jury subpoena to a third person or entity
requiring production of personal and business records of the
President and other persons and entities? The Court’s answer
to that question is yes.
1. Legal Standard
Temporary restraining orders and preliminary injunctions
are among “the most drastic tools in the arsenal of judicial

remedies.” Grand River Enter. Six Nations, Ltd. v. Pryor, 481

 

F.3d 60, 66 (2d Cir. 2007) (per curiam). To obtain this
extraordinary remedy,

[a] party seeking a preliminary injunction must
ordinarily establish (1) irreparable harm; {2) either
(a) a likelihood of success on the merits, or (b)
sufficiently serious questions going to the merits of
its claims to make them fair ground for litigation, pilus
a balance of the hardships tipping decidedly in favor of
the moving party; and (3} that a preliminary injunction
is in the public interest.

New York ex rel. Schneiderman v. Actavis PLC, 787 F.3d 638,

 

650 (2d Cir. 2015) (internal quotation marks omitted).
Because it is well-recognized that the legal standards

governing preliminary injunctions and temporary restraining

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orders are the same, the Court addresses them together. See

AFA Dispensing Grp. B.V. v. Anheuser-Busch, Inc., 740 F. Supp.

 

2d 465, 471 (S.D.N.Y. 2010).

On the second element, the President advocates for the
standard requiring “sufficiently serious questions going to
the merits.” (Pl.’s Reply at 17-18.) The Court finds, however,
that the proper test here is the “likelihood of success”
standard. The grand jury issued its subpoena in the course of
an investigation into violations of New York law; the
President’s motion is thus an attempt to “stay government
action taken in the public interest pursuant to a statutory

scheme.” Able v. United States, 44 F.3d 128, 131 (2d

 

Cir. 1995). It is of no consequence that the proposed
injunction would not restrain the State’s financial laws
themselves: “As long as the action to be enjoined is taken
pursuant to a statutory or regulatory scheme, even government
action with respect to one litigant requires application of

the ‘likelihood of success’ standard.” Id.; see also Plaza

 

Health Labs., Inc. v. Perales, 878 F.2d 577, 580-81 (2d Cir.

 

1989). Nevertheless, given the Court’s holding on the other
prongs of the preliminary injunction standard, the President
would not prevail even under the different but no less

stringent “sufficiently serious questions” analysis.

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Citigroup Glob. Mkts., Inc. v. VCG Special Opportunities

 

Master Fund Ltd., 598 F.3d 30, 35 (2d Cir. 2010).

2. Parties’ Arguments

 

The President advances two fundamental reasons for why
he is entitled to injunctive relief. First, he argues that he
will suffer an irreparable harm in the absence of injunctive
relief, because “there will be no way to unring the bell once
Mazars complies with the District Attorney’s subpoena.”
(Pl.’s Mem. at 3.) Second, the President argues that he has
demonstrated a likelihood of success on the merits, because,
according to the President, it is clear that “[n]o State can
criminally investigate, prosecute, or indict a President
while he is in office.” ({Id.)

The District Attorney counters that the President’s
motion for injunctive relief should be denied, because the
president has failed to carry his burden of showing
entitlement to the requested relief. The District Attorney
primarily maintains that the President has failed to
demonstrate that he will suffer irreparable harm in the
absence of injunctive relief for three reasons. First, the
District Attorney contends that compliance with the Mazars
Subpoena could be “undone” if the Court were to find the

Mazars Subpoena to be invalid and unenforceable. (Def.’s Mem.

at 12-13.) Second, the District Attorney notes that both his

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office and the grand jury are obligated to maintain
confidential any documents produced in response to the Mazars
Subpoena. (See id. at 13.) Third, the District Attorney argues
that no irreparable harm will ensue “if it becomes public
that there is an ongoing criminal investigation that includes
requests from third-parties about business transactions that
relate to the President,” in part because other entities have
already been investigating conduct related to the President
and those investigations have been public. (Id. at 13-14.)

The District Attorney also argues that the President has
failed to demonstrate a likelihood of success on the merits.
According to the District Attorney, there exists no law
supporting a presidential immunity as expansive as the one
claimed by the President in this action. (See id. at 15.)
Finally, the District Attorney argues that the balance of
equities and public interest both weigh in favor of denying
the requested injunctive relief, because there is a public
interest in having the grand jury investigation at issue
proceed expeditiously. (See id. at 19.)

3. Analysis

The Court is not persuaded that the immunity claimed by
the President in this action is so expansive as to encompass
enforcement of and compliance with the Mazars Subpoena. As

such, the President has not satisfied his burden of showing

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entitlement to the “extraordinary and drastic remedy” of

injunctive relief. Grand River Enter., 481 F.3d at 66. The

 

Court turns to each element of the preliminary injunction
standard in turn.
i. Irreparable Harm

MM“

The first element is irreparable harm, which is “an
injury that is not remote or speculative but actual and

imminent, and ‘for which a monetary award cannot be adequate

compensation.’” Dexter 345 Inc. v. Cuomo, 663 F.3d 59, 63 (2d

 

Cir. 2011) (quoting Tom Doherty Assocs. v. Saban Entm’t, Inc.,

 

60 F.3d 27, 37 {2d Cir. 1995)). This high standard reflects
courts’ “traditional reluctance to issue mandatory

injunctions.” North Am. Soccer League, LLC v. United States

 

Soccer Fed'’n, Inc., 883 F.3d 32, 38 n.8 (@d Cir. 2018)

 

(quoting Jacobson & Co., Inc. v. Armstrong Cork Co., 548 F.2d

 

438, 441 n.3 (2d Cir. 1977)).

The Court finds that enforcement of and compliance with
the Mazars Subpoena would not cause irreparable harm to the
President. The President urges the Court to find otherwise on
the basis that public disclosure of his personal records would
cause irreparable harm, first, to the confidentiality of the
President's tax and financial records and, second, to the
President’s opportunity for judicial review of his claims in

this action.

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The Court is not persuaded that disclosure of the
President’s financial records to the office of the District
Attorney and the grand jury would cause the President
irreparable harm. The President relies on a number of cases
to support his argument that mere disclosure -- without more
-- of the documents requested by the Mazars Subpoena would
cause irreparable harm, but none of those cases relate to
ongoing criminal investigations, let alone to the disclosure
of documents and records to a grand jury bound by law and
sworn official oath to keep such documents and records

confidential. See Merrill Lynch, Pierce, Fenner & Smith, Inc.

 

v. Bishop, 839 F. Supp. 68 (D. Me. 1993) (disclosure of
plaintiff’s business records to competitor by a former

employee); Providence Journal Co. v. Fed. Bureau of

 

Investigation, 595 F.2d 889 (lst Cir. 1979) (disclosure of

FBI documents to plaintiff); PepsiCo, Inc. v. Redmond, No. 94

 

Civ. 6838, 1996 WL 3965 (N.D. Ill. Jan. 2, 1996) (disclosure
of plaintiff’s trade secrets or confidential information to

competitor defendant); Metro. Life Ins. Co. v. Usery, 426 F.

 

Supp. 150 (D.D.c. 1976) (disclosure -- to a chapter of the
National Organization for Women -- of certain forms and plans
submitted by insurance companies to federal offices); Airbnb,

Inc. v. City of New York, No. 18 Civ. 7712, 2019 WL 91990

 

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(S.D.N.¥. Jan. 3, 2019) (disclosure of data xregarding
businesses’ customers to Mayor’s Office).

The Court agrees with the District Attorney that the
grand jury is a “constitutional fixture.” United States v,
Williams, 504 U.S. 36, 47 (1992). As such, the Court finds
that disclosure to a grand jury is different from disclosure
to other persons or entities like those identified in the
cases cited by the President. And because a grand jury is
under a legal obligation to keep the confidentiality of its
records, the Court finds that no irreparable harm will ensue
from disclosure to it of the President’s records sought here.

See, e.g., People v. Fetcho, 698 N.E.2d 935, 938 (N.Y. 1998)

 

(“[Slecrecy has been an integral feature of Grand Jury
proceedings since well before the founding of our Nation.
The reasons for this venerable and important policy
include preserving the reputations of those being
investigated by and appearing before a Grand Jury,
safeguarding the independence of the Grand Jury, preventing
the flight of the accused and encouraging free disclosure of
information by witnesses.”) (internal citation and quotation
marks omitted); People v. Bonelli, 945 N.¥.S.2d 539, 541 (N.Y.
Sup. Ct. 2012) (“Grand Jury secrecy is of paramount public
interest and courts may mot disclose these materials

lightly.” (internal quotation marks omitted)).

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Further, as explained in Section II.B.3 supra, the Court
finds that a state forum exists for judicial review of the
President’s claim.

ii. Likelihood of Success on the Merits

 

Even if the President had made a sufficient showing that
enforcement of the Mazars Subpoena and the President's
compliance with it would cause the President irreparable harm
-- and, to be clear, the Court finds it would not -- the Court
would nonetheless deny the President’s motion for injunctive
relief because the President has failed to demonstrate a
likelihood of success on the merits.

The Court disagrees with the President’s position that
a third person or entity cannot be subpoenaed requesting
documents related to an investigation concerning potentially
unlawful transactions and conduct of third parties in which
records possessed or controlled by the sitting President may
be critical to establish the guilt or innocence of such third
parties, or of the President. The Court also rejects the
President’s contention that the Constitution, the historical
record, and the relevant case law support such a presidential
claim.

As a threshold matter, the. Court underscores several
vital points. First, the President recognizes that the

precise constitutional question this action presents -- the

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core boundaries of the President’s immunity from criminal
process -- has not been presented squarely in any judicial
forum, and thus has never been definitively resolved. (See
Amended Complaint 9 10 (“no court has had to squarely consider
the question” of whether a President can be subject to
criminal process while in office).)

The President urges the Court to conclude that the powers
vested in the President by Article IT and the Supremacy Clause
necessarily imply that the President cannot “be investigated,
indicted, or otherwise subjected to criminal process” while
in office (P1l.’s Mem. at 9), and that “criminal process”
encompasses investigations of third persons concerning
matters that may relate to conduct or transactions of third
persons, or of the President. {Id. at 8, 13.) As the Court
reads the proposition, the President’s definition of
“criminal process” is all-encompassing; it would extend a
blanket presidential and derivative immunity to all stages of
federal and state criminal law enforcement proceedings and
judicial process: investigations, grand jury proceedings,
indictment, arrest, prosecution, trial, conviction, and
punishment by incarceration and perhaps even by fine. The
Court will proceed to canvas the various relevant authorities

to assess that proposition.

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a. Department of Justice Memoranda

 

As authority for the absolute immunity doctrine he
proclaims, the President points to and rests substantially
upon two documents issued by the Justice Department’s Office
of Legal Counsel (“OLC”’). The first memorandum appeared in
2000. See Memorandum Opinion for the Attorney General, from
Randoiph D. Moss, Assistant Attorney General, Office of Legal

Counsel, A Sitting President’s Amenability to Indictment and

 

Criminal Prosecution (Oct. 16, 2000) (the “Moss Memo”). The

 

Moss Memo in turn contains a review and reaffirmation of an
OLC memorandum from 1973. See Memorandum from Robert G. Dixon,
Jr., Assistant Attorney General, Office of Legal Counsel, Re:

Amenability of the President, Vice President and Other Civil

 

Officers to Federal Criminal Prosecution While in Office

 

(Sept. 24, 1973) (the “Dixon Memo”). In addition, the
President relies upon a 1973 brief filed by Solicitor General
Robert Bork in the United States District Court for the
District of Maryland in connection with a federal grand jury
proceeding regarding misconduct of Vice President Spiro

Agnew.!! See Memorandum for the United States Concerning the

 

1i The Moss Memo reexamined and updated the Dixon and Bork Memos and
essentially reaffirmed their conclusion that indictment and prosecution
of a President while in office would be unconstitutional because “it would
impermissibly interfere with the President’s ability to carry out his
constitutionally assigned functions and thus would be inconsistent with
the constitutional structure.” See Moss Memo at 223.

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Vice President’s Claim of Constitutional Immunity (filed Oct.

5, 1973), In re Proceedings of the Grand Jury Impaneled

 

December 5, 1972: Application of Spiro T. Agnew, Vice

 

President of the United States, No. 73 Civ. 965 (D. Md. 1973)

 

(the “Bork Memo”). The Dixon, Moss, and Bork Memos are here
referred to collectively as the “DOJ Memos.” The gist of these
documents is that a sitting President is categorically immune
from criminal investigation, indictment, and prosecution.
The Court is not persuaded that it should accord the
weight and legal force the President ascribes to the DOJ
Memos, or accept as controlling the far-reaching proposition
for which they are cited in the context of the controversy at
hand. As a point of departure, the Court notes that many
statements of the principle that “a sitting President cannot
be indicted or criminally prosecuted” typically cite to the
DOJ Memos as sole authority for that proposition.
Accordingly, the theory has gained a certain degree of
axiomatic acceptance, and the DOJ Memos which propagate it
have assumed substantial legal force as if their conclusion
were inscribed on constitutional tablets so-etched by the
Supreme Court. The Court considers such popular currency for
the categorical concept and its legal support as not

Warranted.

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Because the arguments the President advances are so
substantially grounded on the supposed constitutional
doctrine and rationale the DOJ Memos present, a close review
of the DOJ Memos is called for. On such assessment, the Court
rejects the DOJ Memos’ position. It concludes that better-
calibrated alternatives to absolute presidential immunity
exist yielding a more appropriate balance between, on the one
hand, the burdens that subjecting the President to criminal
proceedings would impose on his ability to perform
constitutional duties, and, on the other, the need to promote
the courts’ legitimate interests and functions in ensuring
effective law enforcement attendant to the proper and fair
administration of justice.

The heavy reliance the President places on the DOU Memos
is misplaced for several reasons. First, though they contain
an exhaustive and learned consideration of the constitutional
questions presented here, the DOJ Memos do not constitute
authoritative judicial interpretation of the Constitution
concerning those issues. In fact, as the DOJ Memos themselves
also concede, the precise presidential immunity questions
this litigation raises have never been squarely presented or
fully addressed by the Supreme Court. See Moss Memo at 237;
Dixon Memo at 21. Nonetheless, as elaborated in Section

II1.C.3.ii.c infra, insofar as the Supreme Court has examined

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some of the relevant presidential privileges and immunities
issues as applied in other contexts, the case law does not
support the President’s and the DOJ Memos’ absolute immunity
argument to its full extremity and ramifications.

Second, the DOJ Memos address solely the amenability of
the President to federal criminal process. Hence, because
state law enforcement proceedings were not directly at issue
in the matters that prompted the memos, as they are here, the
DOJ Memos do not address the unique concerns implicated by a
blanket assertion of presidential immunity from state
criminal law enforcement and judicial proceedings.!* That gap
and its significant distinction would include due recognition
of the principles of federalism and comity, and the proper
balance between the legitimate interests of federal and state
authorities in the administration of justice, as discussed
above in the section addressing Younger abstention. See
Clinton v. Jones, 520 U.S. 681, 691 (1997) (noting that in
the context of state law enforcement proceedings, invocation
of presidential privilege could implicate “federalism and

comity concerns”).

 

12 The Moss Memo acknowledged that its analysis, and that of the Dixon
Memo, focused solely on federal rather than state prosecution of a
President while in office, and therefore did not consider “any additional
concerns that may be implicated by state criminal prosecution of a sitting
President.” Moss Memo at 223 n.@.

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State criminal law enforcement proceedings and judicial
process, moreover, do not implicate one of the DOJ Memos’
rationales justifying broad presidential immunity from
federal criminal process: that by virtue of the President’s
functions as Chief Executive, giving him power over
prosecution, invocation of privilege, and pardons in federal
criminal proceedings against the President would be
inappropriate and ineffective, as such process would turn the
President into prosecutor and defendant at the same time.}3
See Dixon Memo at 26,

Third, the Memos’ analyses are flawed by ambiguities (if
not outright conflicts) on an essential point: the scope of
presidential immunity as presented in the DOJ Memos and
asserted here by the President’s claim. For instance, the
Dixon Memo refers to the immunity of a sitting President from
“criminal proceedings,” without explicitly defining what
“proceedings” the rule would encompass. See, e.g., Dixon Memo
at 18. The Bork Memo, again without further elaboration,
discusses the President’s immunity from federal “criminal

process” while in office. See Bork Memo at 3. Whether there

 

13 Of course, as the Watergate scandal and more recent events confirm,
there are practical and legal constraints over a president’s power to
interfere with a federal law enforcement investigation of himself or his
Office, without risking serious charges of obstruction of justice.

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is a difference between “criminal proceedings” and “criminal
process” is a basic open question.

The Moss Memo, rather than addressing this uncertainty,
compounds it by introducing a third expression of the
principle that, though not further defined, clearly suggests
a narrower scope of presidential immunity than that expressed
in the Dixon and Bork Memos. In particular, throughout, the
Moss Memo’s analysis refers to the exemption as not subjecting
a President while in office to “indictment and criminal
prosecution.” See, e.g., Moss Memo at 222. That articulation
invites inguiry as to whether the rule it states would not
apply to pre-indictment stages of criminal process such as
investigations and grand jury proceedings, including
responding to subpoenas.

On this crucial point the DOJ Memos may be at odds with
one another. The specific circumstance that impelled the
Dixon and Bork Memos was a grand jury investigation of Vice
President Agnew, in which he objected to responding to a grand
jury subpoena and argued that the Constitution prohibited
investigation and indictment of an incumbent Vice President,
and consequently that he could not be compelled to answer a
subpoena. The Dixon and Bork Memos rejected that contention
and concluded that the Vice President was not entitled to

claim immunity from criminal process and prosecution. But

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both Memos went further and indicated that such a broad
exemption would extend to the sitting President. Implicitly,
therefore, as suggested by the context, the Dixon and Bork
Memos would expand the scope of their reference to “criminal
proceedings” and “criminal process” to cover presidential
immunity from all pre-indictment phases of criminal law
prosecutions, presumably including exemption from
investigations, grand jury proceedings, and subpoenas.

The Moss Memo, however, by framing its analysis of the
scope of the President’s immunity from criminal law
enforcement by reference specifically to “indictment or
criminal prosecution,” could be read to suggest that the
exemption would not encompass investigations and grand jury
proceedings, including responding to subpoenas. In fact, the
Moss Memo expressly distinguishes the other two memos on this
point.14 Addressing concern over the potential prejudicial
loss of evidence that could occur during a period of
presidential immunity prior to indictment, the Moss Memo
states that “[a] grand jury could continue to gather evidence
throughout the period of immunity, even passing this task
down to subsequently empaneled grand juries if necessary.”

Moss Memo at 257 n.36. Moreover, the Moss Memo disavows an

 

14 See Moss Memo at 232 n.10 (noting that unlike the Dixon Memo, the Bork
Memo “did not specifically distinguish between indictment and other phases
of the ‘criminal process'”).

 

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interpretation of the Dixon and Bork Memos’ analyses as
positing “a broad contention that the President is immune
from all judicial process while in office.” Moss Memo at 239
n.15. It further notes that the Dixon Memo “specifically cast
doubt upon such a contention” and explains that a broader
statement by Attorney General Stanbury in 1867 “is presumably
limited to the power of the courts to review official action
of the President.” Id. (emphasis added).

The Moss Memo thus stepped back from the extreme position
advanced by Vice President Agnew, and that is repeated here
by the President’s argument, that immunity extends to all
criminal investigations and grand jury proceedings, including
responding to subpoenas. In fact, as the Moss Memo
acknowledges, such a view has been rejected by longstanding
case law. Supporting this observation, the Moss Memo quotes
another OLC Memorandum, dating to 1988, which declared that
“it has been the rule since the Presidency of Thomas Jefferson
that a judicial subpoena in a criminal case may be issued to
the President, and any challenge to the subpoena must be based
on the nature of the information sought rather than any
immunity from process belonging to the President.” Id. at 253
n.29 (quoting Memorandum for Arthur B. Culvahouse, Jr.,
Counsel to the President, from Douglas W. Kmiec, Assistant

Attorney General, Office of Legal Counsel, Re: Constitutional

 

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Concerns Implicated by Demand for Presidential Evidence ina

 

Criminal Prosecution at 2 (Oct. 17, 1988)}; see aiso United

 

States v. Burr, 25 Fed. Cas. 30, No. 14,692 (C.C.D. Va. 1807)
(Chief Justice Marshali noting that “[t}Jhe guard, furnished
to [the President] to protect him from being harassed by
vexatious and unnecessary subpoenas, is to be looked for in
the conduct of a court after those subpoenas have issued; not
in any circumstances which is to [] precede their being
issued”); Clinton, 520 U.S. at 704-05 (“It is also settled
that the President is subject to judicial process in
appropriate circumstances. . . . We unequivocally and
emphatically endorsed [Chief Justice] Marshail’s position
when we held that President Nixon was obligated to comply
with a subpoena commanding him to produce certain tape
recordings of his conversations with his aides. . . . AS we
explained, ‘neither the doctrine of separation of powers, nor
the need for confidentiality of high-level communications,
without more, can sustain an absolute unqualified
Presidential privilege of immunity from judicial process

a

under all circumstances.’ (quoting United States v. Nixon,

 

418 U.S. 683, 706 (1974) (internal citations omitted) );
Memorandum from Robert G. Dixon, Jr., Assistant Attorney

General, Office of Legal Counsel, Re: Presidential

 

Amenability to Judicial Subpoena (June 25, 1973) (noting the

 

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view expressed by Chief Justice Marshall in Burr that while
the President’s duties may create difficulties complying with
a subpoena, this “was a matter to be shown upon the return of
the subpoena as a justification for not obeying the process;
it did not constitute a reason for not issuing it”).

The uncertainties and inconsistencies these various
statements manifest about an essential question of
constitutional interpretation suggest that the DOJ Memos’
position concerning presidential immunity from criminal law
enforcement and judicial process cannot serve as compelling
authority for the President’s claim of absolute immunity, at
least insofar as the argument would extend to pre-indictment
investigations and grand jury proceedings such as those at
issue in this case,

Finally, the DOJ Memos lose persuasive force because
their analysis and conclusions derive not from a real case
presenting real. facts, but instead from an unqualified
abstract doctrine conclusorily asserting a generalized
principle, specifically the proposition that while in office
the President is not subject to criminal process. Because the
constitutional text and history on point are scant and
inconclusive, the DOJ Memos construct a doctrinal foundation
and structure to support a presidential immunity theory that

substantially relies on suppositions, practicalities, and

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public policy, as well as on conjurings of remote prospects
and hyperbolic horrors about the consequences to the
Presidency and the nation as a whole that would befall under
any model of presidential immunity other than the categorical
rule on which the DOJ Memos and the President’s claim
ultimately rest.

The shortcomings of formulating a categorical rule from
abstract principles may be highlighted by various concrete
examples demonstrating that other plausible alternatives
exist that would not produce the dire consequences the DOJ
Memos portray absent the absolute presidential exemption they
propound. The indictment stage of criminal process presents
such an illustration, raising fundamental questions,
reasonable doubts, and feasible grounds for making exceptions
to an unqualified presidential immunity doctrine. The Dixon
Memo itself acknowledges as “arguable” the possibility of an
alternative approach that would not implicate the concerns
about the burdens and interferences with the President’s
ability to carry out official duties that are advanced to
justify a categorical immunity rule: Permit the indictment of
a sitting President but defer further prosecution until he or
she leaves office. See Dixon Memo at 31. The Dixon Memo
concludes that “[f]rom the standpoint of minimizing direct

interruption of official duties .. . this procedure might be

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a course to be considered.” Id. at 29. Nonetheless, the Dixon
Memo rejects that alternative, declaring without further
analysis or support that an indictment pending while the
President remains in office would harm the Presidency
virtually as much as an actual conviction. Id.

Perhaps the most substantial flaw in the DOJ Memos’ case
in favor of a categorical presidential immunity rule
extending to all stages of criminal process is manifested in
their expressions of absolutism that upon close parsing and
deeper probing does not bear out. On this point, the DOJ Memos
engage in rhetorical flair -- also embraced by the President’s
arguments -- that not only overstates their point, but does
not consider the possibility of substantive distinctions
which could reasonably address concerns about the burdens and
intrusions that criminal proceedings against a sitting
President could entail, and thus could support a practical
alternative to a regime of absolute presidential immunity.

The thrust of the DOJ Memos’ argument is that a doctrine
of complete immunity of the President from criminal
proceedings while in office can be justified by the
consideration that subjecting the President to the
jurisdiction of the courts would be unconstitutional because
“it would impermissibly interfere with the President’s

ability to carry out his constitutionally assigned functions

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and thus would be inconsistent with the constitutional
structure.” Moss Memo at 223.

In support of that peremptory claim, the DOJ Memos --
and the President -- describe various physical and non-
physical interferences associated with defending criminal
proceedings that they contend could impair the ability of a
President to govern, even possibly amounting to a complete
functional disabling of the President. In particular, the DOJ
Memos cite mental distraction, the effect of public stigma,
loss of stature and respect, the need to assist in the
preparation of a defense, the time commitment demanded by
personal appearance at a trial, and the incapacitation
effected by an arrest or imprisonment if convicted. See, e€.g.,
Moss Memo at 249-54. Summarizing these potential impediments,
the Dixon Memo concludes:

{T]he President is the symbolic head of the Nation. To

wound him by a criminal proceeding is to hamstring the

operation of the whole governmental apparatus, both in
foreign and domestic affairs. . . . [T]he spectacle of
an indicted President still trying to serve as Chief

Executive boggles the imagination.

Dixon Memo at 30. To a similar effect, the Moss Memo declares
that

the ordinary workings of the criminal process would

impose burdens upon a sitting President that would

directly and substantially impede the executive branch
from performing its constitutionally assigned functions,

and the accusation or adjudication of the criminal
culpability of the nation’s chief executive by either a

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grand jury returning an indictment or a petit jury

returning a verdict would have a dramatically

destabilizing effect upon the ability of a coordinate
branch of government to function.’
Moss Memo at 236.

A major problem with constructing a categorical rule
founded upon hypothesizing and extrapolating from an abstract
general proposition disembodied from an actual set of facts,
is that the entire theoretical structure could collapse when
it encounters a real-world application that shakes the
underpinnings of the unqualified doctrine. To propound as a
blanket constitutional principle that a President cannot be
subjected to criminal process presupposes a faulty premise.
Implicit in that pronouncement is the assumption that every
crime -- and every stage of every criminal proceeding, at any
time and forum, whether involving only one or many other
offenders ~~ is just like every other instance of its kind.

The absolute proposition also presumes uniformity of
consequences: that but for the application of absolute

presidential immunity every one of these circumstances would

give rise to every one of the alarming outcomes conjured by

 

15 The Court notes that in this statement the Moss Memo essentially implies
that the scope of presidential immunity it urges would extend to grand
jury proceedings, not only to “indictment and criminal prosecution,” as
expressed throughout the rest of the memo. The remark apparentiy
contradicts expressions elsewhere in the memo suggesting that a sitting
President could be the subject of grand jury investigations. See, e.g.,
supra pages 50-51.

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the DOJ Memos to justify unqualified presidential protection
from any form of criminal process. But on deeper scrutiny of
the rationale for the categorical doctrine, and by
constructing alternatives that eliminate or substantially
mitigate even the most extreme fears conjured, the
assumptions underlying the categorical rule may prove both
unjustified and wrong.

In fact, not every criminal proceeding to which a
President may be subjected would raise the grim specters the
DOJ Memos portray as incapacitation of the President, as
impeding him from discharging official duties, or as
hamstringing “the operation of the whole governmental
apparatus.” Dixon Memo at 30. To be sure, some crimes and
some criminal proceedings may involve very serious offenses
that undisputably may demand the President’s full personal
time, energy, and attention to prepare a defense, and that
consequently could justify recognition of broader immunity
from criminal process in the particular case.

Nonetheless, not every criminal offense falls into that
exceptional category. Some crimes may require months or even
years to resolve, while others conceivably could be disposed
of in a matter of days, even hours. To be specific, perhaps
a charge of murder and imprisonment upon conviction would

present extraordinary circumstances raising the burdens and

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interferences the DOJ Memos describe and thus justify broad
immunity. But a charge of failing to pay state taxes, or of
driving while intoxicated, may not necessarily implicate such
concerns. Similarly, responding to a subpoena relating to the
conduct. of a third party, as is the case here, would likely
not create the catastrophic intrusions on the President’s
personal time and energy, or impair his ability to discharge
official functions, or threaten the “dramatic
destabilization” of the nation’s government that the DOJ
Memos and the President depict. See Dixon Memo at 29
(acknowledging that “ft)he physical interference
consideration . . . would not be quite as serious regarding
minor offenses leading to a short trial and a fine,” and that
“Presidents have submitted to the jurisdiction of the courts
in connection with traffic offenses”). See also, Moss Memo at
254 (acknowledging that “[i]t is conceivable that, in a
particular set of circumstances, a particular criminal charge
will not in fact require so much time and energy of a sitting
President so as materially to impede the capacity of the
executive branch to perform its constitutionally assigned
functions.”).

As regards public stigma, vilification, and loss of
stature associated with criminal prosecutions, again some

criminal offenses undoubtedly could engender such

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consequences and would warrant significant weight in
assessing a claim of immunity from criminal process, but
others would not. Indeed, some civil wrongs, such as sexual
harassment, could arouse much greater public opprobrium and
cause more severe mental anguish and personal distraction
than, for example, criminal possession of a marijuana joint.
Moreover, as Paula Jones’s lawsuit against President Clinton
illustrated, civil charges of sexual misconduct filed against
a sitting President could entail an extensive call on a
President's time and energy, and potentially interfere with
performance of official duties,!® perhaps to a greater degree
than some criminal charges that could be more readily
resolved. And not every crime and not every conviction
necessarily results in a sentence requiring imprisonment.

In a similar vein, a criminal accusation involving the
President alone cannot be considered in the same light as one
entailing unlawful actions committed by other persons that in
some way may also implicate potential criminal conduct by the
President. This circumstance presents unique implications
that demand recognizing and making finer distinctions. A

grand jury investigation of serious unlawful acts committed

 

16 See Clinton, 520 U.8. at 701-02 (“As a factual matter, [President
Clinton] contends that this particular case -- as well as the potential
additional litigation that an affirmance . . . might spawn -- may impose
an unacceptable burden on the President’s time and energy and thereby
impair the effective performance of his office.”).

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by third persons may turn up evidence incriminating the
sitting President. It would create significant issues
impairing the fair and effective administration of justice if
the proceedings had to be suspended or abandoned because the
President, invoking absolute immunity from all criminal
investigations and grand jury proceedings, refused to provide
critical evidence he may possess that could, either during
the investigation or at later proceedings, convict or
exonerate any of the co-conspirators. In that instance, the
President’s claim of absolute immunity conceivably could
enable the guilty to go free, and deprive the innocent of an
opportunity to resolve serious accusations in a court of law.

The running of a statute of limitations in favor of the
President or third persons during the period of immunity
presents additional complexities and exceptional
circumstances in these situations, similarly raising the
prospect of frustrating the proper administration of justice.

A hypothetical combining all of these difficulties may
illustrate how a real and compelling set of facts could
undermine a blanket invocation of presidential immunity from
all criminal process. Suppose that during the course of a
criminal investigation of numerous third persons engaged in
very serious crimes, some of the targets being high-ranking

government officials, substantial evidence is uncovered

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indicating that the President was closely involved with those
other persons in committing the offenses under investigation.
The accusations come to light not long before the President’s
term is about to expire, leaving no time for the House of
Representatives to present articles of impeachment, nor for
the Senate to conduct a trial. But the applicable statute of
limitations is also about to expire before the President
leaves office.

On these facts, no persuasive argument could be made
that an indictment of the President while in office, along
with the co-conspirators -- thereby tolling the statute of
limitations ~- would present the severe burdens) and
interferences with the discharge of the President’s duties
that the DOJ Memos interpose. Balanced against the prospect
of a number of powerful individuals going free and escaping
punishment for serious crimes by virtue of the President
asserting absolute immunity from criminal process, an
alternative that would allow the indictment and prosecution
to proceed under these circumstances may weigh against
recognizing a categorical claim of presidential immunity.

The Dixon Memo acknowledges the special difficulties
that criminal proceedings involving co-conspirators and
statute of limitations problems present. See Dixon Memo at

29, 32, 41. In response, the Dixon Memo dismisses such

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concerns as not sufficient to overcome the argument in favor
of the President’s absolute immunity. See id. On that point,
the Dixon Memo remarks: “In this difficult area all courses
of action have costs and we recognize that a situation of the
type just mentioned could cause a complete hiatus in criminal
liability.” Id. at 32. But failure to do full and fair justice
in any case should not be shrugged off as mere collateral
damage caused by a claim of presidential privilege or
immunity. If in fact criminal justice falls to an assertion
of immunity, that verdict should be an absolutely last resort.
It should be justified by exacting reasons of momentous public
interest such as national security, and be reviewable by a
court of law. Above all, its effect should not be to shield
the President from all legal process, especially in
circumstances where it may appear that a claim of generalized
immunity is invoked more on personal than on official grounds,
and work to place the President above the law. See Nixon, 418
U.S. at 706 (holding that “[a]bsent a claim of need to protect
military, diplomatic, or sensitive national security
secrets,” a generalized interest in protecting the
confidentiality of presidential communications in_ the
performance of the President’s duties must yield to the
adverse effects of such a privilege on the fair administration

of justice). As the Nixon Court declared under pertinent

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circumstances, “{tjhe impediment that an absolute unqualified
privilege would place in the way of the primary constitutional
duty of the Judicial Branch to do justice in criminal
prosecutions would plainly conflict with the function of the
courts under Art. III.” Id. at 707; see also Clinton, 520
U.S. at 708. Here, this Court is not persuaded that the
President has met this rigorous standard.

b. Constitutional Text and History

 

The Court finds that the structure of the Constitution,
the historical record, and the relevant case law support its
conclusion that, except in circumstances involving military,
diplomatic, or national security issues, a county prosecutor
acts within his or her authority -- at the very least -- when
issuing a subpoena to a third party even though that subpoena
relates to purportedly unlawful conduct or transactions
involving third parties that may also implicate the sitting
President. No other conclusion squares with the fundamental
notion, embodied in those sources, that the President is not
above the law.

Turning first to the text of the Constitution and the
historical record, the Court concludes that neither the
Constitution nor the history surrounding the founding support
as broad an interpretation of presidential immunity as the

one now espoused by the President. As the Supreme Court did

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in Clinton, this Court notes that the historical record does
not conclusively answer the question presented to the Court:

Just what our forefathers did envision, or would have
envisioned had they foreseen modern conditions, must be
divined from materials almost as enigmatic as the dreams
Joseph was called upon to interpret for Pharaoh. A
century and a half of partisan debate and scholarly
speculation yields no net result but only supplies more
or less apt guotations from respected sources on each
side... . They largely cancel each other.

Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 634-35

 

{1952}.

c. Supreme Court Guidance

 

Turning to the opinions issued by the Supreme Court,
the Court finds that they support this Court’s conclusions in
this action. The Supreme Court has twice recognized that “Tilt
is settled law that the separation-of-powers doctrine does
not bar every exercise of jurisdiction over the President of
the United States.” Clinton, 520 U.S. at 705 (quoting
Fitzgerald, 457 U.S. at 753-54). “[I]t is also settled that
the President is subject to judicial process in appropriate
circumstances.” Id. at 703.

The narrower part of the judicial process that is at
issue in this action -- i.e., responding to a subpoena —-- has
similarly been addressed by the Supreme Court. That Court
squarely upheld the view first espoused by Chief Justice

Marshall, who presided over the trial for treason of Vice

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President Aaron Burr while in office, that “a subpoena duces
tecum could be directed to the President.” Id. at 703-04;
accord Nixon, 418 U.S. at 706 (“{N]either the doctrine of
separation of powers, nor the need for confidentiality of
high-level communications, without more, can sustain an
absolute, unqualified Presidential privilege of immunity from

judicial process under all circumstances.”}; see also Nixon

 

v. Sirica, 487 F.2d 700, 709-10 (D.C. Cir. 1973} (“The clear
implication is that the President’s special interests may
warrant a careful judicial screening of subpoenas after the
President interposes an objection, but that some subpoenas
will nevertheless be properly sustained by judicial orders of
compliance.”) (en banc) (per curiam).

And at least one President (Richard M. Nixon) has himself
conceded that he, as President, was required to produce
documents in response to a judicial subpoena: “He concedes
that he, like every other citizen, is under a legal duty to
produce relevant, non-privileged evidence when called upon to
do so.” Sirica, 487 F.2d at 713. If a subpoena may be directed
to the President, it follows that a subpoena potentially
implicating private conduct, records, or transactions of
third persons and the President may lawfully be directed to

a third-party.

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The Court cannot square a vision of presidential
immunity that would place the President above the law with
the text of the Constitution, the historical record, the
relevant case law, or even the DOJ Memos on which the
President relies most heavily for support. The Court thus
finds that the President has not demonstrated a likelihood of
success on the merits and is accordingly not entitled to
injunctive relief in this action. Contrary to the President’s
claims, the Court’s conclusion today does not “upend our
constitutional design.” (Pl.’s Reply at 4.) Rather, the
Court’s decision upholds it.

d. Alternatives

The questions and concerns the DOJ Memos present, and
that the President here embraces, need not inexorably lead to
only one course, that of prescribing an absolute immunity
rule. In fact, the Supreme Court has provided guidance to
govern invocations of absolute immunity. In Clinton it
declared that such claims should be resolved by a “functional”

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approach. Specifically, the Court counseled that an
official's absolute immunity should extend only to acts in
performance of particular functions of his office.” Clinton,
520 U.S. at 694. The court further explained that “immunities

are grounded in ‘the nature of the function to be performed,

not the identity of the actor who performed it.’” Id. at 695

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(quoting Forrester v. White, 484 U.S. 219, 229-30 (1988)).

 

Underscoring this point, the Court concluded that “we have
never suggested that the President, or any other official,
has an immunity that extends beyond the scope of any action
taken in an official capacity.” Clinton, 520 U.S. at 694,
The DOJ Memos, while espousing a categorical
presidential immunity rule, and perhaps seeming inconsistent
on this point as well,!’ also recognize the applicability of
such a method. The Dixon Memo, for instance, concludes that
under our constitutional plan it cannot be said either
that the courts have the same jurisdiction over the
President as if he were an ordinary citizen or that the
President is absolutely immune from the jurisdiction of
the courts in regard to any kind of claim. The proper
approach is to find the proper balance between the normal
functions of the courts and the special responsibilities
and function of the Presidency.
Dixon Memo at 24.
In the few instances in which the Supreme Court has
addressed questions concerning the scope of the President’s
assertion of executive privilege and immunity from judicial

process, albeit in varying contexts, several general

principles and a functional framework emerge from the Court’s

 

11 The Dixon Memo, for example, though remarking that an alternative of
permitting an indictment of a President and deferring trial until he is
out of office is a course worthy of consideration, rejects the option in
favor of a categorical rule. The Dixon Memo also admits to “certain
drawbacks” of an absolute immunity doctrine. Simiiarly, the memo
acknowledges the difficulties that a categorical rule presents because of
issues such as the running of the statute of limitations and the
involvement of co-conspirators, but again discounts those concerns to
support a categorical rule. See Dixon Memo at 17, 32.

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pronouncements that should inform and guide adjudications of

such claims. A synthesis of Burr, Nixon, Fitzgerald, and

 

Clinton suggests that the Supreme Court would reject an
interpretation and application of presidential powers and
functions that would “sustain an absolute, unqualified
Presidential privilege of immunity from judicial process
under ali circumstances.” Nixon, 418 U.S. at 706. Rather chan
enunciating such a categorical rule, the Supreme Court’s
guidance suggests that courts take account of various
circumstances that may bear upon a court’s ultimate
determination concerning the appropriateness of a claim of
presidential immunity from judicial process relating to a
criminal proceeding.

Among the relevant considerations are: whether the
events at issue involve conduct taken by the President in an
a private or official capacity; whether the conduct at issue
involved acts of the President, or of third parties, or both;
whether the conduct of the President occurred while the
President was in office, or before his tenure; whether the
acts in dispute related to functions of the President’s
office; whether a subpoena for production of records was
issued against the President directly or to a third person;
whether the judicial process at issue involves federal or

state judicial process; whether the proceedings pertain to a

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civil or criminal offense; whether the enforcement of the
particular criminal process concerned would impose burdens
and interferences on the President's ability to execute his
constitutional duties and assigned functions; and whether the
effect of the President’s asserting immunity under the
circumstances would be to place the President, or other
persons, above the law.

The analytic framework the Supreme Court counsels courts
to employ requires a balancing of interests. The assessment
would consider the interest of the President in protecting
his office from undue burdens and interferences that could
impair his ability to perform his official duties, and the
interests of law enforcement officers and the judiciary in
protecting and promoting the fair, full, and effective
administration of justice.

The relevance of these multiple considerations in a
determination of the appropriateness of presidential. immunity
from criminal process under such varying circumstances
underscores the incompatibility of an unqualified, absolute
doctrine, and, rather than a blanket application; points to

a case-by-case approach in which a demonstration of

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sufficiently compelling conditions to justify presidential
exemption is made by the courts.48

Here, the Court’s weighing of the competing interests
persuades it to reject the President’s request for injunctive
relief. The interest the President asserts in maintaining the
confidentiality of certain personal financial and tax records
that largely relate to a time before he assumed office, and
that may involve unlawful conduct by third persons and
possibly the President, is far outweighed by the interests of
state law enforcement officers and the federal courts in
ensuring the full, fair, and effective administration of
justice.

The Court is not persuaded that the burdens and
interferences the President describes in this case would
substantially impair the President’s ability to perform his
constitutional duties. See Clinton, 520 U.S. at 705 (“The
burden on the President’s time and energy that is a mere
byproduct of [judicial] review surely cannot be considered as
onerous as the direct burden imposed by judicial review and

the occasional invalidation of his official actions.”}. In

 

8 The Moss Memo mentions such a course in passing, reiterating its support
for a categorical rule “rather than a doctrinal test that would require
the court to assess whether a particular criminal proceeding is likely to
impose serious burdens upon the President.”} Moss Memo at 254. This point
ignores that it was precisely this kind of assessment that the Supreme
Court conducted in Nixon and Clinton, and that more generally courts
routinely make in the course of performing their constitutional duties.

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the Court’s view, frustration of the state criminal
investigation under the facts presented here presents much
greater concerns that overcome the President’s grounds for
not complying with the grand jury subpoena.

1ii. The Public Interest

 

Given that the Court finds that the President would not
suffer irreparable harm or succeed on the merits, it is
unnecessary to consider whether the public interest would
favor a preliminary injunction. Nevertheless, the Court notes
that the public interest does not favor granting a preliminary
injunction. As discussed above, grand juries are an essential
component of our legal system and the public has an interest
in their unimpeded operation. Manypenny, 451 U.S. at 243; see

also United States v. Dionisio, 410 U.S. 1, 17 (1973)

 

(referring to “the public’s interest in the fair and
expeditious administration of the criminal laws”); Branzburg
v. Hayes, 408 U.S. 665, 688-90 (1972) (in a First Amendment
case, referring to “the public interest in law enforcement
and in ensuring effective grand jury proceedings” and noting
that the principle that the public is entitled to every
person’s evidence “is particularly applicable to grand jury
proceedings”); In re Sealed Case, 794 F.2d 749, 751 n.3 (D.C.

Cir. 1986) {per curiam) (referring to “the weighty public

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interest in the orderly functioning of grand juries and. the

judicial process”).

 

 

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III. ORDER
For the reasons described above, it is hereby
ORDERED that the amended complaint of plaintiff Donald

J. Trump (Dkt. No. 27) is DISMISSED pursuant to the decision

 

of the United States Supreme Court in Younger v. Harris, 401

 

U.S. 37 (1971).

 

SO ORDERED.

Dated: New York, New York
7 October 2019

cee

Victor Marrero
U.S.D.d.

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